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 1
                                 UNITED STATES DISTRICT COURT
 2                             SOUTHERN DISTRICT OF CALIFORNIA
 3
          MS. L, et al.,                                   Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                           JOINT STATUS REPORT
 6        vs.
 7
          U.S. IMMIGRATION AND
 8        CUSTOMS ENFORCEMENT, et
 9        al.,

10                    Respondents-Defendants.
11
12
         The Court ordered the parties to file a joint status report on September 27,
13
14 2018. The parties submit this joint status report in accordance with the Court’s
15 instruction.
16
   I.     DEFENDANTS’ POSITIONS
17
18    A. Update on Reunifications: Defendants are discharging children
          appropriately and expeditiously
19
20        Defendants have appropriately discharged an additional 45 children since the

21 last Joint Status Report, for a total of 2,296 children.
22
          Looking ahead, there are 136 children proceeding towards reunification or
23
24 another appropriate discharge. Specifically, there are:
25        • 40 children in ORR care with a parent who is in the United States and
26
                presently in the class. Of the 40 children, 6 cannot be reunified at this time
27
28

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            because their parents are in other federal, state, or local custody (e.g., state
 1
 2          criminal detention). Defendants are working to appropriately discharge
 3
            the remaining 34 of 40 children, and to identify any possible barriers to
 4
 5          their discharge, meeting and conferring with Plaintiffs where appropriate

 6          for resolution. See Table 1: Reunification Update.
 7
         • 27 children in ORR care who have parents presently departed from the
 8
 9          United States, who have cleared Processes 1 through 3 of the court-

10          approved reunification plan, and who are proceeding towards reunification
11
            with their parents in their home country. See Table 2: Reunification of
12
13          Removed Class Members.

14             o Of these 27 children, 9 children have voluntary departure orders.
15
                  The government is actively arranging travel to their home countries.
16
17                Another 12 of the 27 children have immigration proceedings that
18                have been dismissed or canceled by the government. The
19
                  government is actively arranging travel to their home countries as
20
21                well. See id.
22       • 69 children in ORR care who have parents presently departed from the
23
            United States, and for whom the ACLU has not yet provided notice of
24
25          parental intent regarding reunification (or declination of reunification). As
26          described below, Defendants are supporting the efforts of the ACLU to
27
28

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             obtain statements of intent from those parents. Once Defendants receive
 1
 2           the notices from the ACLU, Defendant will either reunify the children or
 3
             move them into the TVPRA sponsorship process, consistent with the intent
 4
 5           of the parent. For 18 of the 69 children, the ACLU has been in contact

 6           with their parents for more than 28 days without providing Defendants
 7
             with notice of parental intent. See Table 2: Reunification of Removed
 8
 9           Class Members.

10        The current reunification status for children ages 0 through 17 is further
11
     summarized in Table 1 below. The data in Table 1 reflects approximate numbers
12
13 maintained by ORR at least as of September 24, 2018. These numbers are dynamic
14 and continue to change as more reunifications or discharges occur.
15
16                           Table 1: Reunification Update
17
                                                        Phase 1   Phase 2
18                      Description                     (Under 5) (5 and      Total
                                                                  above)
19    Total number of possible children of potential
      class members originally identified                103       2,551      2,654
20
                                     Discharged Children
21    Total children discharged from ORR care:           87        2,209      2,296
22       • Children discharged by being reunified        72        1,953      2,025
            with separated parent
23
         • Children discharged under other
24          appropriate circumstances (these include
25          discharges to other sponsors [such as        15        256        271
            situations where the child’s separated
26          parent is not eligible for reunification] or
27          children that turned 18)

28

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                          Children in ORR Care, Parent in Class
 1
      Children in care where the parent is not eligible
 2    for reunification or is not available for discharge 3            133        136
      at this time:
 3
 4    • Parent presently outside the U.S.              2         94               96
      • Parent presently inside the U.S.               1         39               40
 5          o Parent in other federal, state, or local 0         6                6
 6             custody
                        Children in ORR Care, Parent out of Class
 7
      Children in care where further review shows      4         45               49
 8    they were not separated from parents by DHS
 9    Children in care where a final determination has 7               22         29
      been made they cannot be reunified because the
10    parent is unfit or presents a danger to the child
11    Children in care with parent presently departed 1                122        123
      from the United States whose intent not to
12    reunify has been confirmed by the ACLU
      Children in care with parent in the United States
13    who has indicated an intent not to reunify        0              18         18

14            B. Update on Removed Class Members: Defendants are working
                 with Plaintiffs’ counsel to implement parental intent
15
           The current reunification status of removed class members is set forth in Table
16
17 2 below.     The data presented in this Table 2 reflects approximate numbers
18
     maintained by ORR as of at least September 24, 2018. These numbers are dynamic
19
     and continue to change as the reunification process moves forward.
20
21
22
23
24
25
26
27
28

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                Table 2: Reunification of Removed Class Members
 1
 2   REUNIFICATION REPORTING METRIC                               NO. REPORTING
     PROCESS                                                          PARTY
 3   STARTING
     POPULATION    Children in ORR care with parents              219   Def’s.
 4                 presently departed from the U.S.
 5
     PROCESS 1:
 6   Identify & Resolve Children with no “red flags” for safety 219     Def’s.
     Safety/Parentage   or parentage
 7   Concerns
 8   PROCESS 2:           Children with parent contact
     Establish Contact    information identified                  219   Def’s.
 9   with Parents in
     Country of Origin    Children with no contact issues         219   Def’s. & Pl.’s
10                        identified by plaintiff or defendant
                          Children with parent contact
11                        information provided to ACLU by         219   Def’s.
                          Government
12
13   PROCESS 3:           Children for whom ACLU has
     Determine            communicated parental intent for        150   Pl’s.
14   Parental Intention   minor:
     for Minor
                            • Children whose parents waived       123   Pl’s.
15
                                reunification
16                          • Children whose parents chose
17                              reunification in country of       27    Pl’s.
                                origin
18                        Children for whom ACLU has not yet
                          communicated parental intent for        69    Pl’s.
19                        minor:
20                          • Children with voluntary
                                departure orders awaiting         2     Def’s.
21                              execution
22                          • Children with parental intent       22    Def’s.
                                documented by ORR
23                          • Children whose parents ACLU
24                              has been in contact with for 28   18    Pl’s.
                                or more days without intent
25                              determined
26
27
28

                                           5                            18cv428 DMS MDD
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      PROCESS 4:          Total children cleared Processes 1-3
 1    Resolve             with confirmed intent for reunification       27     Pl’s.
      Immigration         in country of origin
 2    Status of Minors to
      Allow                   • Children in ORR care with               9      Def’s.
 3    Reunification             orders of voluntary departure
 4                            • Children in ORR care w/o                18     Def’s.
 5                              orders of voluntary departure
                                o Children in ORR care whose
 6                                  immigration cases were              12     Def’s.
 7                                  dismissed or withdrawn

 8        Defendants believe they have and are continuing to provide Plaintiffs with the
 9
     majority of the information they seek with respect to children of departed (or
10
11 removed) class members. In last week’s status conference, the Court and Plaintiffs
12 requested further information about how Defendants have reported information
13
   regarding departed class members and their children.
14
15       In short, Defendants have continually refined their reporting to provide more

16 detailed information to the Court and Plaintiffs:
17
      • Defendants’ weekly reporting has generally focused on the current weekly
18
19        population of children of departed class members in ORR care, as those are
20        most relevant to the parties’ shared reunification goal.
21
       • On August 7, Defendants provided Plaintiffs with a list of 400 total children
22
23         with departed parents who were then in ORR care — a total population which
24
           later increased to 414 children as additional cases meeting the relevant criteria
25
           were identified.
26
27
28

                                               6                              18cv428 DMS MDD
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 1     • Beginning August 23, Defendants continued reporting the current, weekly

 2        number of children in ORR care with departed parents in each Joint Status
 3
          Report. The number changed weekly as children were discharged from care
 4
 5        (or re-categorized based on determinations related to separation, parental

 6        fitness, or safety). Defendants also provided supporting data to Plaintiffs.
 7
       • On or around August 30, Defendants provided Plaintiffs with information
 8
 9        about the type of discharge of each child to date. Defendants also began

10        providing that data weekly for new discharges.
11
       • On or around September 11, Defendants provided additional information
12
13        about discharges to date (e.g., sponsor contact information). Defendants also
14        began providing that data weekly for new discharges.
15
          By providing the above, Defendants believe they have provided Plaintiffs with
16
17 detailed information about the circumstances of each discharged child among the
18 414 total children with departed parents. Defendants will continue to do so for new
19
   discharges. The table below summarizes the information regarding children of
20
21 departed parents that Defendants have reported to Plaintiffs since August 7:
22
23
24
25
26
27
28

                                             7                              18cv428 DMS MDD
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                          Table 3: Summary of Reporting on
 1
                    Reunification of Children with Departed Parents
 2
 3




                                                                                                                                         Parent no longer departed
                                                                                                              Discharge via Age Out or
                                                                                   Discharged to Individual
                                  Total Cumulative Cases


                                                           Number of Children In


                                                                                    Discharged Separated




                                                                                                               Age Redetermination

                                                                                                                Separation or Safety)
                                                                                     Parent or Voluntary
                                                            Care with Departed
 4




                                                                                                                 Out of Class (Not a
 5




                                                                                         Departure

                                                                                          Sponsor
                                                                 Parents
           Date Provided to
 6
              Plaintiffs
 7
 8
 9
10
            August 7, 2018                     400               400
11
12          August 10, 2018                    412               398
13          August 24, 2018                    413               343
14
            August 30, 2018                    413               322
15
16         September 6, 2018                   414               304
17
          September 13, 2018                   414               279
18
          September 20, 2018                   414               254
19
20        September 27, 2018                   414               219                  90             70         7            24                            4
21
22
           Defendants understand that Plaintiffs want to track the status of children of
23
24 removed parents, even following discharge, from the total group of 414 children.
25 For example, Plaintiffs submitted late last night a list of 33 of the 414 children about
26
   whom they claim not to have received adequate information. Defendants believe
27
28

                                                                       8                                                         18cv428 DMS MDD
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     that much of the information Plaintiffs are seeking has already been provided as
 1
 2 detailed above, and have explained that to Plaintiffs’ counsel by email. Defendants
 3
     hope that the chart and explanation above provide further clarity about the
 4
 5 relationship between Defendants’ reporting and that group of 414 children.
 6 Defendants remain willing and available to meet and confer regarding any questions
 7
     Plaintiffs have.
 8
 9      C. Locating Removed Parents

10         ORR is continuing to support the ACLU’s efforts to obtain parental intent by
11
     brokering three-way calls with parents, the case manager, and the ACLU. As of
12
13 September 24, Plaintiffs had identified a total of 45 cases that they asked be
14 prioritized for three-way calls.     Commander White instructed that ORR case
15
     managers begin to broker three-way calls with the phone number provided by
16
17 Plaintiffs for those 45. So far, the parties agree that that process has resulted in at
18 least 29 successful three-way calls connecting the parents and the ACLU, which are
19
   helping to facilitate confirmation of parental intent. Defendants will continue to
20
21 broker more calls between children, parents and the ACLU. The parties are meeting
22 and conferring about additional phone numbers for prioritization.
23
      D. Update Regarding Government’s Implementation of Agreement
24
         Defendants are continuing to work with Plaintiffs’ counsel to finalize the
25
26 documents necessary for approval and implementation of the agreement. Defendants
27
28

                                              9                              18cv428 DMS MDD
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     also are continuing to conduct the manual case reviews needed to finalize the lists
 1
 2 for implementation of the agreement that were detailed in last week’s joint status
 3
     report.
 4
 5      E. Criminal History Exclusions

 6         The parties met and conferred multiple times regarding the issue of exclusions
 7
     from the class based on criminal history. Based on the class certification order in this
 8
 9 case, ECF No. 82, and the Court's recent order addressing two individual criminal
10 exclusions, ECF No. 236, the government understands the Court to have concluded
11
     that it will not review the government’s good faith exercises of discretion with regard
12
13 to exclusions from the class based on criminal history.
14         Although these individuals are not class members, the government will
15
     continue to evaluate the possibility of reunification under ordinary processes.
16
17 Although class counsel does not represent these individuals who are not class
18 members, the government is continuing to meet and confer with class counsel to
19
   determine if there is an appropriate way for class counsel to bring cases to the
20
21 government’s attention that may merit further review or reconsideration.
22      F. Information Sharing and Reporting on Removed Parents
23
           As discussed above, the parties continue to meet and confer regarding the
24
25 sharing of data. Defendants believe they are now providing Plaintiffs with the
26 majority of the information they are seeking.
27
28

                                               10                              18cv428 DMS MDD
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 1     II.       PLAINTIFFS’ POSITIONS
 2     A. Steering Committee Progress
 3           The Steering Committee has continued to make progress in contacting
 4 parents, confirming parent and child wishes with respect to reunifications, and
 5 relaying such wishes to the Government in the form of attorney declarations or
 6 reunification election forms signed by parents. As of Wednesday, September 26,
 7 the Committee delivered final preferences for 1871 parents to the Government.
 8 The status of efforts based on the Government’s September 21 list of 254 children
 9 in ORR custody with removed parents is as follows:
10   Removed parents identified by the Government to Steering               254
11   Committee on 9/21/18
12     • Parents for whom Committee has no phone number                     0
13   Steering Committee called phone number for parent (using               254
14   Government-provided number or number otherwise obtained by
15   Steering Committee)
16   Steering Committee spoke to parent (either by phone or in person)      236
17      • Parents successfully reached by phone                             227
18      • Parents found through outreach by NGOs                            9
19
        • Parents called and not reached (and not reached through NGO       18
20        efforts)
21
                 o Phone number inoperable or ineffective                   0
22
                 o Contact efforts ongoing                                  18
23
24           1
             This figure is based on the Government’s September 21 report of 254
25 children remaining in ORR custody. As previously noted, the Steering Committee
   continues to report its progress with respect to the total 414 families that the
26 Government has identified as including children in ORR care with removed
   parents. Progress with respect to this total population is contained at the end of
27 this section.
28

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 1   Parents reached by phone or NGO outreach                                236
 2      • Parent’s preference with respect to reunification has been 197
 3         confirmed to match child’s
 4      • Preliminary indication of parent’s wishes with respect to 17
 5         reunification
 6      • Ongoing discussions with parent about reunification                22
 7   Parent’s final preference has been communicated to government           187
 8      • Parent has elected reunification in Country of Origin              55
 9      • Parent has elected to waive reunification in Country of Origin     132
10     B. Information-Sharing
11        2.     Repatriation
12        The parties continue to solve issues with lack of reliable notice of when
13 repatriation will occur. Over the past week, the Steering Committee has identified
14 several inaccuracies and concerns regarding the information being shared by the
15 Government about the repatriation of children. Examples include:
16   - Insufficient notice to parents, many of whom live far from their home
17        country’s capital;
18     - Children repatriated but not appearing on lists shared by the Government.
19        The Steering Committee has raised these concerns with the Government and
20 is actively coordinating with Commander White and the Government’s counsel to
21 reach resolution. The Committee understands that Commander White has put in
22 place new protocols which should be taking effect shortly and the Committee is
23 discussing steps to address additional concerns with the Government’s counsel.
24        3.     Parents First Contacted 28 days ago
25        In the September 20 status report, the Government began reporting the
26 number of parents with whom the Steering Committee first made contact 28 days
27 ago, and for whom the Government has not yet received the parent’s reunification
28

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 1 preference. Of the 22 parents identified by the Government in that status report,
 2 the Steering Committee has submitted reunification preferences for six parents. In
 3 seven more cases, the Government no longer considers the parent as part of the 254
 4 removed parents with children in ORR care. The Steering Committee e-mailed
 5 detailed information for the remaining nine cases to the Government on September
 6 23, and also offered to further discuss the issue. The Committee has not received a
 7 response from the Government but continues to be willing to meet and explain
 8 such cases as removed parents reach life-changing decisions about their children.
 9        4.     Removals from Government Lists
10        The Steering Committee continues to meet and confer with the Government
11 to clarify the bases for which children and parents have been removed from the
12 lists of class members or children in ORR custody previously produced by the
13 Government, as reflected in each week’s Joint Status Report and, on Wednesday,
14 September 26, asked the Government to provide more specific information with
15 respect to 33 children and parents, for whom the Government has either provided
16 no information as to why they have been removed from the operative list, or for
17 whom the Government has provided only general information, such as an
18 indication that the child was “discharged from ORR custody,” without specifying
19 whether the child has been repatriated or placed with a specific sponsor. The
20 Steering Committee looks forward to receiving this additional information and to
21 being able to continue to work collaboratively with the Government to ensure that
22 the parents’ and children’s interests are properly addressed.
23        5.     Inoperative/Ineffective/Lack of Phone Numbers
24        The Steering Committee continues to meet and confer with the Government
25 regarding parents the Committee has not yet reached. The Committee has
26 identified additional parents for whom the Steering Committee would like the
27 Government to facilitate three-way calls.
28

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 1 Steering Committee Progress on Total Reported Parents/Children (414)
 2
 3   Removed parents identified by the Government to Steering       414
 4   Committee (8/7/28, 8/10/18, 8/24/18, 9/6/18, 9/14/18 and
 5   9/21/18 lists)
 6      • Parents for whom Committee has no phone number            19
 7   Steering Committee called phone number for parent (using       395
 8   Government-provided number or number otherwise obtained
 9   by Steering Committee)
10   Steering Committee spoke to parent (either by phone or in      346
11   person)
12      • Parents successfully reached by phone                     329
13      • Parents found through outreach by NGOs                    17
14
        • Parents called and not reached (and not reached through   49
15        NGO efforts)
16
              o Phone number inoperable or ineffective              0
17
              o Contact efforts ongoing                             49
18
19
20   Parents reached by phone or NGO outreach                       346
21      • Parent’s preference with respect to reunification has been 269
22         confirmed to match child’s
23      • Preliminary indication of parent’s wishes with respect to 28
24         reunification
25      • Ongoing discussions with parent about reunification       49
26   Parent’s final preference has been communicated to             246
27
28

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 1   government
 2     • Parent has elected reunification in Country of Origin   72
 3     • Parent has elected to waive reunification in Country of 174
 4        Origin
 5   Resolved Cases                                              68
 6     • Child reunited with parent in Country of Origin         32
 7
       • Child placed with sponsor in U.S.                       36
 8
 9
10
11
12
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